Case 4:22-cv-03730 Document 26-2 Filed on 09/21/23 in TXSD Page 1 of 4
EXHIBIT "2"

From: Matthew Baumgartner
To: Robert MacNaughton; Brooke Wilhelm; Weston Ray; Guillermo Alarcon
Cea: "John Lyons"; Martha Adams
Subject: RE: Robert MacNaughton shared "2627 Main Discovery" with you.
Date: Tuesday, May 16, 2023 3:51:33 PM
Attachments: image010.png

image011.png

image012.png

image013.png

image014.pnq
RE_FAH22004012_ Grant Meadows-Revised Commitmen....pdf

Robert-

Unfortunately, Defendant’s document production is not usable and we need to request that the
documents be reproduced in a way that preserves the documents’ original content (including the
metadata and families). The manner in which Defendant has produced documents does not preserve the
metadata and does not (unless we attempt to keep them together on our end) keep the families (emails
and their attachments) together in the Bates numbering.

As an example, if you open the attached production PDF you can view the email and it is Bates
endorsed, but the filename does not contain the Bates number. You can then click on the attachment
icon (paper clip) and view the attachment and it is not Bates endorsed.

Defendant’s production did not include a file containing the Bates numbers and metadata.
In contrast, the KH production contains the following metadata fields:

e BegBates

e EndBates

e BegAttach

e EndAttach

e SortDate (this date is populated the same for parent emails and any attachments)
e SentDate

e ReceivedDate

e LastModifiedDate

e From

e To

e CC

e BCC

e Subject

e FileName

© FileExt

e Author

e NativeLink (Link to the produced native files)

If possible, it would be best to receive Defendant’s production in the same format as KH’s, which meets
the minimum standards for production of electronically stored documents.

I have cc’d John Lyons to work with whomever is creating Defendant’s production to ensure it is
received as expected. Please provide the best contact for John to work with on this.

Sincerely,

Matthew Baumgartner |
Case 4:22-cv-03730 Document 26-2 Filed on 09/21/23 in TXSD Page 2 of 4
EXHIBIT "2"

Armbrust & Brown, PLLC

100 Congress Avenue, Suite 1300
Austin, Texas 78701-2744

(512) 435-2308 - Direct

(512) 435-2360 - Facsimile
mbaumgartner@abaustin.com

Logo

From: Robert MacNaughton <robert@porterfirm.com>

Sent: Monday, May 15, 2023 7:30 PM

To: Brooke Wilhelm <lawclerklit@porterfirm.com>; Robert MacNaughton <robert@porterfirm.com>;
Weston Ray <weston@porterfirm.com>; Guillermo Alarcon <GAlarcon@abaustin.com>; Matthew
Baumgartner <MBaumgartner@abaustin.com>

Subject: Robert MacNaughton shared "2627 Main Discovery" with you.

|G

onan

Robert MacNaughton shared a file
with you

Defendant Document Production Cause No. 4:22-CV-3730
lf you have an issue let me know. Bates Labels are without prefix identifiers - wanting to
get the documents to you timely.

« 262/ Main Discovery

(®) This link will work for anyone.

B® Microsoft Privacy Statement

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EXHIBIT "2"

From: Travis Huehlefeld

To: Avant, Lolly; Joshua Bernstein

Ce: Rebecca Brown; Jonathan Daniel; ltorrado@knighthead.com; Brian H. Buster; Ebbs, Mary; RMB-TeamAvant;
Shahin Jamea; Sara Prasatik

Subject: RE: FAH22004012|Grant Meadows-Revised Commitment and Owner"s Proforma

Date: Monday, October 24, 2022 5:36:06 PM

Attachments: lemental Title an rv jection Letter (WCG 10 24 2022)(1218045.

Lolly/Josh — Please find attached Purchaser’s supplemental title objections based off of the revised
title commitment received today. Please let me know if you have any comments.
Thank you,

Travis

TRAVIS L. HUEHLEFELD | Attorney

Wilson Cribbs + Goren | 2500 Fannin St | Houston, TX 77002

713.222.9000 (O) | 713.547.8516 (D) | 713.229.8824 (F)

huehl law. | www.weglaw.com_| vcard

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From: Avant, Lolly <LAvant@fnf.com>

Sent: Monday, October 24, 2022 12:22 PM

To: Rebecca Brown <Rbrown@knightheadfunding.com>; Brian H. Buster
<bbuster@legalstrategy.com>; Joshua Bernstein <jbernstein@legalstrategy.com>; ‘Shahin Jamea'
<sjamea@oxberrygroup.com>; Travis Huehlefeld <tHuehlefeld@wcglaw.com>; Sara Prasatik

<sprasatik@wcglaw.com>
Cc: Ebbs, Mary <Mary.Ebbs @fnf.com>; RMB-TeamAvant <RMB-teamavant @fnf.com>
Subject: FAH22004012|Grant Meadows-Revised Commitment and Owner's Proforma

BM alm antec y-<oM Velaro plemsiclee] ketal US| a 12a Abra

Good Afternoon,

I have revised the survey reading for Exception M, Item (f) in the title commitment and Owner’s
proforma.

Please let me know if you have any questions and if we are targeting October 2
date.

My office will be circulating a closing statement by tomorrow. Please provide any outstanding
invoices and wiring instructions.

Thank you,

Lolly Avant, SVP

National Business Development|Senior Closer

Fidelity National Title

National Commercial Services

1900 West Loop South, Suite 200

Houston, Texas 77027

Email: lavant@fnficom

Direct: 713-621-9170

Mobile: 281-217-9517

8" for the closing

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